Frazier v. Experian Info. Sols., Inc., Slip Copy (2018)




                                                               Plaintiff failed to provide facts sufficient to support her
                2018 WL 3785131                                claim for relief by offering “merely speculative and
  Only the Westlaw citation is currently available.            conclusory allegations” that she did not receive a full
    United States District Court, D. Maryland.                 consumer file disclosure. Mot. Dismiss First Am. Compl.
                                                               1. No hearing is required. Local Rule 105.6 (D. Md. 2016).
       Joahn Barron FRAZIER, Plaintiff                         The motion will be granted.3
                     v.
 EXPERIAN INFO. SOLS., INC., et al., Defendants

                 CIVIL NO. JKB-18-0067
                            |
                   Signed 08/06/2018                           II. Standard of Dismissal for Failure to State a Claim
                            |                                  Federal Rule of Civil Procedure 8(a) requires “[a] pleading
                    Filed 08/09/2018                           that states a claim for relief [to] contain ... a short and plain
                                                               statement of the claim showing that the pleader is entitled
                                                               to relief.” Fed. R. Civ. P. 8(a). This standard “does not
Attorneys and Law Firms                                        require ‘detailed factual allegations,’ but it demands more
                                                               than an unadorned, the-defendant-unlawfully-harmed-me
Joahn Barron Frazier, Hagerstown, MD, pro se.                  accusation.”       Ashcroft v. Iqbal, 556 U.S. 662, 678
Jon G. Heintz, Jones Day, Washington, DC, Robert J.            (2009) (citing       Bell Atl. Corp. v. Twombly, 550 U.S.
Schuckit, Schuckit & Associates, P.C., Zionsville, IN, for     544, 555 (2007) ). A complaint must contain “sufficient
Defendants.                                                    factual matter, accepted as true, to ‘state a claim to relief
                                                               that is plausible on its face,’ ”      Iqbal, 556 U.S. at 678
                                                               (2009) (quoting        Twombly, 550 U.S. at 570). Facial
                                                               plausibility exists “when the plaintiff pleads factual content
                                                               that allows the court to draw the reasonable inference that
                                                               the defendant is liable for the misconduct alleged.” Id. An
                                                               inference of a mere possibility of misconduct is not
                                                               sufficient to support a plausible claim.        Id. at 679. As the
                   MEMORANDUM                                  Twombly opinion stated. “Factual allegations must be
                                                               enough to raise a right to relief above the speculative
James K. Bredar, Chief Judge                                   level.”     550 U.S. at 555. “A pleading that offers ‘labels
                                                               and conclusions’ or ‘a formulaic recitation of the elements
                                                               of a cause of action will not do.’ ... Nor does a complaint
                                                               suffice if it tenders ‘naked assertion[s]’ devoid of ‘further
                                                               factual enhancement.’ ”        Iqbal, 556 U.S. at 678 (quoting
I. Background                                                       Twombly, 550 U.S. at 555, 557). Although when
*1 Plaintiff Joahn Barron Frazier filed an Amended             considering a motion to dismiss a court must accept as true
Complaint alleging violations of the Fair Credit Reporting     all factual allegations in the complaint, this principle does
                                                               not apply to legal conclusions couched as factual
Act (“FCRA”),       15 U.S.C. §§ 1681-1681x (2012). (BCF
No. 15.) Plaintiff contends that Defendants1 failed to         allegations.      Twomhly, 550 U.S. at 555.
disclose Plaintiff’s full consumer file pursuant to §
1681g(a)(1).2 Defendant Equifax Inc. (“Equifax”) and
putative defendant, Equifax Information Services, LLC
(“EIS”), filed a Motion to Dismiss under        Federal Rule
of Civil Procedure 12(b)(6) asserting two grounds for          III. Allegations of the Complaint
dismissal. First, Equifax contends that it is not a consumer   *2 On September 19, 2017, Plaintiff made a written request
reporting agency (“CRA”) and. therefore, cannot be held        for “all information in [her] consumer file” to Equifax.4
liable under the FCRA. Mot. Dismiss First Am. Compl. 1,        Compl. Ex. B, Jan. 9, 2018, ECF No. 1 (emphasis omitted);
Apr. 5, 2018, ECF No. 18. Second, Defendants allege that       see First Am. Compl. ¶ 19, Mar. 22, 2018, ECF No. 15. In

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response, EIS sent Plaintiff a letter that Plaintiff contends    appropriately presented and resolved at summary
“was not responsive to her request.” First Am. Compl. ¶          judgment”); see also Jones v. Equifax, Inc., No. 3:14cv678,
20; see Compl. Ex. C. Unsatisfied with Defendants’               2015 WL 5092514, at *4 n.11 (E.D. Va. Aug. 27, 2015)
response, Plaintiff made a “second and final request for a       (noting that the cases cited by Equifax to support a finding
full consumer file disclosure” to Equifax. First Am. Compl.      that it was not a CRA were unpersuasive for a motion to
¶ 25 (emphasis omitted); see Compl. Ex. G. In response to        dismiss because “every decision ... was rendered at the
her second request, Equifax allegedly sent Plaintiff a           summary judgment stage”); Wikert v. Wells Fargo Bank,
“credit report” that was also “not responsive to her             No. 3:11-cv-00786-J-37JRK, 2012 WL 333787, at *3
request.” First Am. Compl. ¶ 28; Pl.’s Opp’n Ex. A, Apr.         (M.D. Fla. Feb. 1, 2012) (making a “reasonable inference”
20, 2018, ECF No. 21.                                            while considering the defendant’s motion to dismiss that
                                                                 the defendant is a CRA and recognizing that “[s]hould [the]
On January 9, 2018, Plaintiff filed a Complaint against          [d]efendant have evidence that [it] is not a CRA, it may
Defendants alleging violations of the FCRA, citing        15     present it at a later stage of this litigation”). Accordingly,
U.S.C. § 1681g(a)(1). First Am. Compl. ¶¶ 19, 20, 21.            to survive Equifax’s motion to dismiss and proceed to
Equifax filed a Motion to Dismiss the original complaint,        discovery, Plaintiff need only plead sufficient facts to
Mot. Dismiss, Mar. 6, 2018, ECF 11, and Plaintiff filed her      allow this Court to make a reasonable inference that the
First Amended Complaint. Based “upon information and             defendant is a CRA. Scott, 2018 WL 3360754, at *5; see
belief,” Plaintiff contends that “there is substantial               Marricone v. Experian Info. Sols., Inc., No. 09-CV-
information relating to [her] that is contained in all           1123, 2009 WL 3245417, at *1 (E.D. Pa. Oct. 6, 2009)
Defendants’ files that has not been disclosed to her.”5 First    (concluding that without binding case law that the
Am. Compl. ¶ 34.                                                 defendant is not a CRA, a plaintiff’s well-pleaded
                                                                 allegations that the defendant acted as a CRA under the
                                                                 circumstances of the case should survive a               Rule
                                                                 12(b)(6) motion to dismiss).

                                                                 In Scott v. Experian Information Solutions. Inc., a case
IV. Analysis
                                                                 concerning an analogous motion to dismiss, the District
                                                                 Court for the Southern District of Florida found that the
                                                                 plaintiff pled “facts sufficient to show Equifax is a CRA at
   A. The Court may plausibly infer that Equifax is a            this phase of the litigation.” Scott, 2018 WL 3360754, at
   CRA                                                           *4. In its reasoning, the court emphasized three items in the
Equifax argues that it is not a CRA.6 Equifax relies on three    plaintiff’s complaint that it used to reach its decision. First,
district court summary judgment decisions7 and the fact          the plaintiff alleged that “he submitted two requests for his
that EIS, not Equifax, prepared Plaintiff’s disclosure.8 Mot.    full consumer file disclosures to Equifax and received
Dismiss First Am. Compl. 3. Plaintiff contends that              responses from Equifax.” Id. (citing Am. Compl. ¶¶ 22-23,
Equifax is a CRA. First Am. Compl. ¶ 7. Plaintiff asserts        28, 31). Second, the plaintiff stated that “Equifax
that Equifax has “held itself out repeatedly ... as the actual   operate[d] as a seller of credit report information.” Id.
operating entity” that “freely transfer[s] ... consumer          (citing Am. Compl. ¶¶ 7-8). Lastly, the complaint included
information and data ... for commercial purposes” and            a letter from Equifax sent in response to the plaintiff’s
claims that Equifax sent her the report because it had a         request. Id. at *5 (citing Am. Compl. ¶¶ 23, 31). The court
bolded “EQUIFAX” label on the first page. First Am.              concluded that the letter alone provided “a reasonable
Compl. ¶ 7-8; Pl.’s Opp’n 3, Ex. A. Plaintiff suggests,          inference that Equifax is a CRA.” Id.; see Wikert, 2012 WL
however, that the issue of whether Equifax is a CRA should       333787, at *3 (finding that the “Credit Reports” attached
be resolved at the summary judgment stage. Pl.’s Opp’n 5.        to the complaint “at the very least[ ] support a ‘reasonable
As a preliminary matter, the Court first addresses whether       inference’ that [defendant] is a CRA” and recognizing
it can make such a determination when considering a              other district court decisions that have reached the same
motion to dismiss.                                               conclusion (quoting Iqbal, 556 U.S. at 1949) ).

*3 Courts have held that a defendant’s status as a CRA           As in Scott, Plaintiff contends that she sent two requests to
should he decided on a motion for summary judgment,9 not         Equifax and, in response to her second request, received a
through a motion to dismiss. See Scott v. Experian Info.         “credit report” with “the name ‘EQUIFAX’ in big bold
Sols., Inc., No. 18-CV-60178-ALTONAGA/Seltzer, 2018              letters on the first page” of the report. Pl.’s Opp’n 3, Ex. A;
WL 3360754, at *4-5 (S.D. Fla. June 29, 2018) (finding           First Am. Compl. ¶ 28. Plaintiff, however, only provided a
that Equifax’s contention that it is not a CRA is “more          portion of the report attached to her Opposition. She

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redacted the entire body of the report, leaving only            deficient substitute for describing the necessary particulars
Equifax’s logo (as described above), Equifax’s URL, the         of a claim and those cases “where a plaintiff does not have
date, Plaintiff’s name and address, an identification           personal knowledge of the facts being asserted” because
number, and “Page 1 of 18” at the bottom. Pl.’s Opp’n Ex.       they are within the defendant’s control. Id. (quoting Malibu
A. Nonetheless, based on the parts of the report provided,      Media, LLC v. Doe, Civ. No. PWG-13-365, 2014 WL
supported by Plaintiff’s factual allegation that she received   7188822, at *4 (D. Md. Dec. 16, 2014) ). When
a credit report from Equifax, it is reasonable to infer that    accompanied by “specific factual allegations,” the latter
the exhibit is the first page of Equifax’s disclosure to        use may overcome a motion to dismiss.                Doe v.
Plaintiff. Accordingly, as in Scott, the report, paired with    Salisbury Univ., 123 F. Supp. 3d. 748, 768 (D. Md. 2015).
Plaintiff’s factual allegations, is enough to overcome
Defendants’ motion to dismiss with respect to Equifax’s         *5 In Scott, the plaintiff pled “upon information and belief”
contention that it is not a CRA. If Equifax has evidence that   that the following was missing from the disclosure he
would refute the Court’s conclusion, it may file a motion       received from the defendants:
for summary judgment and present its evidence to the
Court. See Wikert, 2012 WL 333787, at *3.                         (1) “information that was previously shown in his credit
                                                                  reports and additional information that is provided to
*4 Although the Court draws the inference from the First          prospective creditors, insurers or employers who request
Amended Complaint that Equifax Inc. is a CRA, the Court           information on Plaintiff that Plaintiff has never seen or
offers no opinion as to whether Plaintiff can succeed at the      is aware of”; (2) “negative codes among other things that
evidentiary stage in establishing proof of such. Given the        are provided to prospective creditors, insurers or
cases in which Equifax Inc. was not found to be a CRA             employers”; and (3) “far more information relating to
when evidence was presented in summary-judgment                   Plaintiff in their files and databases including archived
motions, the Court is doubtful Plaintiff would be able to         information.”
prove otherwise. However, Plaintiff’s contention survives
Equifax’s motion to dismiss. Because the Court so holds,        Scott, 2018 WL 3360754, at *6 (citations omitted) (quoting
it need not reach Plaintiff’s alternate contention that         Am. Compl. ¶ 38, 39, 41). The plaintiff clarified that his
Equifax is an alter ego of its subsidiaries and. therefore,     claim focused on information that “may have been at some
that Equifax is a CRA.                                          time in the past provided to an unknown third party or
                                                                might be provided at some time in the future to a third
                                                                party.” Id. at *7 (emphasis omitted) (quoting Am. Compl.
                                                                ¶ 43). Lastly, the plaintiff contended that “ ‘one can only
                                                                surmise’ the information [the] [d]efendants share with third
                                                                parties ‘must obviously contain information that the
   B. Plaintiff fails to allege sufficient facts to support     consumer has never seen and the consumer reporting
   her claim for relief                                         agencies don’t want him or her to see for some unknown
Defendants10 allege that Plaintiff failed to “state facts       reason.’ ” Id. (original alterations omitted) (quoting Am.
sufficient to support a claim for relief under the FCRA”        Compl. ¶ 47).
because she “merely recites in conclusory fashion that she
did not receive a full disclosure.”11 Mot. Dismiss First Am.    The district court held that the plaintiff’s “speculative
Compl. 11. Plaintiff contends that the document she             guesswork ... render[ed] the pleading incapable of
received was “not responsive to her request” because it         withstanding a motion to dismiss.” Id. The court reasoned
omitted “substantial information.” First Am. Compl. ¶¶ 28,      that the plaintiff failed to “point to what information is
34. Defendants argue, however, that Plaintiff’s complaint       actually missing” from the disclosure or the “specific facts”
is void of “any factual enhancement that specific               that he relied on to allege that the defendants did not meet
information that should have been in the disclosure was         the disclosure requirements of the FCRA. Id. The court
missing.” Mot. Dismiss First Am. Compl. 13.                     further emphasized the plaintiff’s lack of direct knowledge
                                                                and the use of “might” and “may,” which illustrated the
A complaint based exclusively “upon information and             hypothetical nature of the plaintiff’s complaint. Id.
belief” is “insufficient to defeat a motion to dismiss.” Mann
Bracken, LLP v. Exec. Risk Indemnity, Inc., Civ. No. DKC        In the instant case, based “[u]pon information and belief,”
15-1406, 2015 WL 5721632, at *7 (D. Md. Sept. 28, 2015)         Plaintiff alleges that “there is substantial information
(quoting      Harman v. Unisys Corp., 356 Fed.Appx. 638,        relating to [her] that is contained in all Defendants’ files
640-41 (4th Cir. 2009) ). However, a distinction exists         that has not been disclosed to her.” First Am. Compl. ¶ 34.
between cases that use “upon information and belief” as a       While she has “no direct knowledge” of the information in

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Defendants’ files,12 First Am. Compl. ¶ 32, Plaintiff                                          some unknown reason.
speculates as to the following possible omissions:

        information that was previously shown in her credit
        reports that is now archived and additional information                  First Am. Compl. ¶ 43.
        that is provided to prospective creditors, insurers or
        employers who request information on Plaintiff that she                  Plaintiff’s allegations are nearly identical to those made by
        has never seen or has been made aware of [and]                           the plaintiff in Scott. Plaintiff admits that she has no direct
                                                                                 knowledge of the content in Defendants’ files and can only
        ... [information containing] negative codes among other                  postulate as to what should have been included in the
        things that are provided to prospective creditors, insurers              disclosures. Plaintiff also uses words such as “may” and
        or employers which directly affect how that prospective                  “might” and includes the exact language the court in Scott
        creditor, insurer or employer would view the Plaintiff in                referred to as a “telling[ ]” example of the plaintiff’s
        terms of granting credit, rating insurance policies or                   speculation.13 Scott, 2018 WL 3360754, at *7; First Am.
        providing employment or even providing housing.                          Compl. ¶ 39. While it may be true that the information
                                                                                 Plaintiff is seeking is within the control of Defendants,
First Am. Compl. ¶¶ 34, 35. Plaintiff further contends,                          Plaintiff fails to accompany her conclusional allegations
                                                                                 based “upon information and belief” with “specific factual
                                                                                 allegations” that led her “to accuse Defendants of failing to
                                                                                 meet their disclosure requirements under the FCRA.”
                  The sole issue in this lawsuit                                 Scott, 2018 WL 3360754, at *7. As in Scott, even when
                  revolves around the fact that                                  considering all facts in a light most favorable to Plaintiff
                  [Plaintiff] has not had access to all                          and accepting her allegations as true, the Court cannot
                  information in her full consumer file                          reasonably infer that the Defendants violated their
                  that may have been at some time in                             disclosure requirements pursuant to § 1681g(a)(1) of the
                  the past provided to an unknown                                FCRA. The complaint fails to state a claim for relief.
                  third party or might be provided at
                  some time in the future to a third
                  party.


                                                                                 V. Conclusion
*6 First Am. Compl. ¶ 39 (emphasis omitted). Lastly,
                                                                                 Although the Court rules in Plaintiff’s favor as to whether
Plaintiff asserts,
                                                                                 she has successfully alleged Equifax Inc. is a CRA, the
                                                                                 Court agrees with Defendants that she has nevertheless
                                                                                 failed to state a claim for relief. A separate order dismissing
                  One can only surmise that there                                Plaintiff’s complaint against Equifax Inc. will follow.
                  must be some nefarious reason why
                  that information should not be
                  provided to the consumer.... It                                All Citations
                  obviously must contain information
                  that the consumer has never seen,                              Slip Copy, 2018 WL 3785131
                  and the consumer reporting                                      
                  agencies don’t want her to see it for

Footnotes 
 
1            Named Defendants are Experian Information Solutions, Inc. (“Experian”), Equifax Inc. (“Equifax”), and Trans Union, LLC (“Trans
     
             Union”). However, Plaintiff’s complaint effectively includes two Equifax Inc. subsidiaries, Equifax Information Services, LLC (“EIS”), 
             and Equifax Consumer Services, LLC (“ECS”), as defendants on the theory that Equifax Inc. and its subsidiaries operate as alter egos
             of one another. This opinion will treat EIS and ECS as though they are named as defendants; however, only EIS seems to be targeted 
             by Plaintiff as sharing in the alleged misconduct by Equifax Inc. against Plaintiff. Consequently, ECS will not be further addressed
             here, but any ruling on the substantive merits of Plaintiffs complaint regarding Equifax Inc. shall be deemed to include ECS and EIS. 
             Experian and Trans Union filed answers, and the Court does not address any allegations against them in this opinion. Hereinafter,
             “Defendants” in the instant opinion exclusively refers to Equifax Inc. and its subsidiaries. 

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2           “Every consumer reporting agency shall, upon request ... clearly and accurately disclose to the consumer ... [a]ll information in the 
     
            consumer’s file at the time of the request.”    15 U.S.C. § 1681g(a) (2012). 
             
3           Equifax’s motion to dismiss the original complaint (ECF No. 11) will be found moot. 
     
             
 
4           Plaintiff made the same request to Experian and Trans Union and was similarly unsatisfied with their responses. First Am. Compl. 
     
            ¶¶ 17‐18, 21‐22; Compl. E.x. A, D. 
             
5           This memorandum opinion discusses Plaintiff’s specific allegations in a subsequent section. See infra Section II. 
     
             
 
6           The FCRA defines “consumer reporting agency” as follows: 
     
              [A]ny person which, for monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in the
              practice  of  assembling  or  evaluating  consumer  credit  information  or  other  information  on  consumers  for  the  purpose  of
              furnishing consumer reports to third parties, and which uses any means or facility of interstate commerce for the purpose of
              preparing or furnishing consumer reports. 
                15 U.S.C. § 1681a(f) (2012). 
             
7           See Greear v. Equifax, Inc., No. 13‐11896, 2014 WL 1378777, at *1 (E.D. Mich. Apr. 8, 2014) (“[Equifax] does not engage of the
     
            business of assembling or reporting consumer credit information. Rather, [EIS], a subsidiary of Equifax, Inc., is a consumer reporting 
            agency....” (citations omitted) );  Channing v. Equifax, Inc., No. 5:11‐CV‐293‐FL, 2013 WL 593942, at *2 (E.D.N.C. Feb. 15,  2013)
            (“[Equifax]  is  not  a  CRA,  but  rather  is  a  holding  company  which  does  not  own,  receive,  store,  maintain,  process,  or  otherwise 
            exercise control over plaintiff’s consumer credit information.”); Slice v. Choicedata Consumer Servs., Inc., No. 3:04‐CV‐428, 2005 
            WL 2030690, at *3 (E.D. Tenn. Aug. 23, 2005) (“[Equifax] has not violated the FCRA as alleged because it is not a ‘consumer reporting
            agency’ and has not furnished or prepared a ‘consumer report on the plaintiff.’ ”). 
             
8           The FCRA defines “consumer report” as follows: 
     
               [A]ny written, oral, or other communication of any information by a consumer reporting agency bearing on a consumer’s credit
               worthiness, credit standing, credit capacity, character, general reputation, personal characteristics, or mode of living which is 
               used or expected to be used or collected in whole or in part for the purpose of serving as a factor in establishing the consumer’s 
               eligibility for (A) credit or insurance to be used primarily for personal, family, or household purposes; (B) employment purposes; 
               or (C) any other purpose authorized under section 1681b of this title. 
                15 U.S.C. § 1681a(d). 
             
9           As recognized by Defendants, district courts have concluded that Equifax is not a CRA at the summary judgment stage. See supra
     
            note 7. 
             
10          See note 1, supra. 
         
             
 
11          Defendants  first  contend  that  Plaintiff  misinterprets  the  difference  between  a  credit/consumer  report  and  a  consumer
         
            disclosure/file. Mot. Dismiss First Am. Compl. 11‐13. They suggest that Plaintiff in fact received a consumer disclosure/file and not 
            a credit/consumer report because, by definition, a credit/consumer report is a communication “generated by a CRA and delivered 
            to a third party,” while a consumer disclosure/file “is a CRA’s file that is provided to the consumer.” Mot. Dismiss First Am. Compl. 
            13  (emphasis  added).  Accordingly,  since  Plaintiff,  “the  consumer,  was  the  recipient,  what  she  received  was  exactly  what  she
            requested—a full consumer file disclosure.” Mot. Dismiss First Am. Compl. 12‐13; see               15 U.S.C. § 1681a(d) (defining “consumer 
            report”);      id. § 1681a(g) (defining “file”). Federal courts have recognized the distinction between a consumer/credit report and
            a consumer disclosure file. See. e.g.,       Collins v. Experian Info. Sols., Inc., 775 F.3d 1330, 1335 (11th Cir. 2015) (“According to the 
            FCRA’s  definitions,  a  ‘consumer  report’  is  communicated  by  the  consumer  reporting  agency  [to  a  third  party],  while  a  ‘file’  is
            retained by the consumer reporting agency.”): Letren v. Trans Union. LLC, Civ. No. PX 15‐3361, 2017 WL 445237, at *8 (D. Md. Feb.
            2, 2017) (“It follows then that ‘there cannot be a consumer report without disclosure to a third party.’ ” (quoting Jackson v. Early 
            Warning Servs., LLC, No. PJM 15‐1233, 2016 WL 7228866, at *6 (D. Md. Dec. 13, 2016) ) ). This opinion does not address the matter
            further because Plaintiff nonetheless contends that the disclosure she received, however it may be classified, was insufficient and
            in  violation  of  the  disclosure  requirements  under  the  FCRA.  See  Scott,  2018  WL  3360754,  at  *6  (“Despite  the  legal  distinction 

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           between a consumer ‘file’ and a ‘consumer report,’ [the] [p]laintiff insists he received something less than his full consumer file
           disclosure.”) 
            
12         Plaintiff asserts that she “realized there was [more] substantial information that companies like Equifax ... had in their file(s) about
      
           consumers than had been included in a conventional credit report she had received previously.” First Am. Compl. ¶ 32. Plaintiff 
           does not elaborate further with respect to what she had previously received in a conventional credit report compared to what she
           received in her disclosures from Defendants. 
            
13         Compare First Am. Compl. ¶ 43 (“One can only surmise that there must be some nefarious reason why the information should not 
      
           be  provided  to  the  consumer....  It  obviously  must  contain  information  that  the  consumer  has  never  seen,  and  the  consumer
           reporting  agencies  don’t  want  her  to  see  it  for  some  unknown  reason.”),  with  Scott,  2018  WL  3360754,  at  *7  (“Tellingly,  [the 
           plaintiff]  alleges  ‘one  can  only  surmise’  the  information  [the]  [d]efendants  share  with  third  parties  ‘must  obviously  contain
           information  that  the  consumer  has  never  seen  and  the  consumer  reporting  agencies  don’t  want  him  or  her  to  see  for  some
           unknown reason.’ ” (quoting Am. Compl. ¶ 47) ). 
            



 
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